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      AO 245D-CAED (Rev. 02/2018) Sheet 1 - Judgment in a Criminal Case for Revocation



                                   UNITED STATES DISTRICT COURT
                                                      Eastern District of California
                      UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE
                                                                                    (For Revocation of Probation or Supervised Release)
                                 v.
                         RUSSELL A BOSWELL                                          Criminal Number: 6:18MJ00014-001
                                                                                    Defendant's Attorney: Linda Allison, Assistant Federal Defender
      THE DEFENDANT:
             admitted guilt to violation of charges ONE and TWO as alleged in the violation petition filed on 4/10/2019 .
             was found in violation of condition(s) of supervision as to charge(s)             after denial of guilt, as alleged in the violation petition
             filed on   .

      The defendant is adjudicated guilty of these violations:
      Violation Number                  Nature of Violation                                                             Date Violation Ended
       TWO                                   FAILURE TO PAY FINE                                                        11/16/2018
                                             FAILURE TO PROVIDE PROOF OF ALCOHOLICS
       ONE                                                                                                              5/21/2018-4/4/2019
                                             ANONYMOUS

       The court:       revokes:        modifies:        continues under same conditions of supervision heretofore ordered on 5/23/2018 .

             The defendant is sentenced as provided in pages 2 through 3 of this judgment. The sentence is imposed pursuant to the
      Sentencing Reform Act of 1984.

             Charge       is dismissed.

              Any previously imposed criminal monetary penalties that remain unpaid shall remain in effect.

               It is ordered that the defendant shall notify the United States attorney for this district within 30 days of any change of name,
       residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
       ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
       circumstances.
                                                                                   6/25/2019
                                                                                   Date of Imposition of Sentence
                                                                                   /s/ Jeremy D. Peterson
                                                                                   Signature of Judicial Officer
                                                                                   Jeremy D. Peterson, United States Magistrate Judge
                                                                                   Name & Title of Judicial Officer
                                                                                   7/1/2019
                                                                                   Date




http://apps.caed.circ9.dcn/CIRUser/Desktop/snapshot.aspx?redirect=judgment&tab=tpMisdemeanorProb                                                         7/1/2019
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      AO 245B-CAED (Rev. 02/2018) Sheet 4 - Misdemeanor Probation
      DEFENDANT: RUSSELL A BOSWELL                                                                                                      Page 2 of 3
      CASE NUMBER: 6:18MJ00014-001

                                                                    PROBATION
       The defendant is hereby sentenced to probation for a term of : 12 months unsupervised probation .

       If this judgment imposes a fine, special assessment, processing fee or restitution, it is a condition of probation that defendant pay in
       accordance with the Schedule of Payments sheet of this judgment.

       While on probation, the Defendant shall be subject to and must comply with the following conditions of probation:

                                                        CONDITIONS OF PROBATION
       1.   The defendant's probation shall be unsupervised by the probation office.
       2.   The defendant is ordered to obey all federal, state, and local laws.
       3.   The defendant shall notify the court and, if represented by counsel, your counsel of any change of address and contact number.
       4.   The defendant shall pay a fine of $250.00 to be paid by 4/26/2020. Payments shall be made payable to the Clerk, U.S.D.C., and
            mailed to

                CLERK U.S.D.C.
                2500 Tulare Street, Rm 1501
                Fresno, CA 93721
       5.   The defendant shall personally appear for a probation review hearing on May 19, 2020, at 10:00 a.m., before U.S. Magistrate
            Judge Peterson. Shortly before this hearing, if the defendant has successfully complied with the terms of probation, he may
            request that the probation review hearing be vacated and that his term of probation be immediately terminated. If represented,
            the defendant shall make any such request through counsel.
       6.   The defendant shall advise the court and government officer through counsel, if represented, within seven days of being cited or
            arrested for any alleged violation of law.




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      AO 245B-CAED (Rev. 02/2018) Sheet 6 - Schedule of Payments
      DEFENDANT: RUSSELL A BOSWELL                                                                                                       Page 3 of 3
      CASE NUMBER: 6:18MJ00014-001

                                                           SCHEDULE OF PAYMENTS
              Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

       A.              Lump sum payment of $ 250.00 balance due
                                Not later than 4/26/2020 , or
                                in accordance            C,        D,        E,or            F below; or
       B.              Payment to begin immediately (may be combined with               C,           D,     or    F below); or

       C.              Payment in equal    (e.g. weekly, monthly, quarterly) installments of $       over a period of       (e.g. months or
                       years), to commence     (e.g. 30 or 60 days) after the date of this judgment; or

       D.              Payment in equal    (e.g. weekly, monthly, quarterly) installments of $    over a period of      (e.g. months or
                       years), to commence     (e.g. 30 or 60 days) after release from imprisonment to a term of supervision; or

       E.              Payment during the term of supervised release/probation will commence within      (e.g. 30 or 60 days) after release
                       from imprisonment. The court will set the payment plan based on an assessment of the defendants ability to pay at
                       that time; or

       F.              Special instructions regarding the payment of criminal monetary penalties:
                          Payments must be made by Check or Money Order, payable to: Clerk, U.S.D.C. and mailed to:
                             CLERK U.S.D.C.
                             2500 Tulare Street, Rm 1501
                             Fresno, CA 93721
                       Your check or money order must indicate your name and citation/case number shown above to ensure your account
                       is credited for payment received.

       Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
       due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
       Inmate Financial Responsibility Program, are made to the clerk of the court.

       The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

               Joint and Several

       Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
       and corresponding payee, if appropriate:

               The defendant shall pay the cost of prosecution.

               The defendant shall pay the following court cost(s):

               The defendant shall forfeit the defendant's interest in the following property to the United States: The Preliminary Order of
               Forfeiture is hereby made final as to this defendant and shall be incorporated into the Judgment.

       Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
       (5) fine interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court
       costs.




http://apps.caed.circ9.dcn/CIRUser/Desktop/snapshot.aspx?redirect=judgment&tab=tpMisdemeanorProb                                                 7/1/2019
